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Case No.        CV 09-00565 DDP (RZx)                                        Dated: February 2, 2009

Title:    POM WONDERFUL LLC, a Delaware limited liability company -v- OCEAN SPRAY
          CRANBERRIES, INC., a Delaware corporation
==========================================================================
PRESENT: HONORABLE DEAN D. PREGERSON, JUDGE

                John A. Chambers                                       None Present
                Courtroom Deputy                                       Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:

                None                                          None

PROCEEDINGS:                 MINUTE ORDER (IN CHAMBERS)

          This action has been assigned to the calendar of Judge Dean D. Pregerson.

      Counsel are encouraged to review the Central District’s website for additional information.
The address is “http://www.cacd.uscourts.gov”.

      It is not necessary to clear a motion date with the Court Clerk prior to filing the motion. The
Court hears motions only on Mondays at 10:00 a.m.


        The Court requires delivery of two non-blue backed Mandatory Chambers Copies* of only
the following manual and electronically filed documents to Room 244-J:
          (1)   All noticed motions and related documents;
          (2)   All ex parte applications and related documents; and
          (3)   All exhibits and attachments must be separately tabbed.
*[Refer to the Court's General Order No. 08-02 regarding ECF Courtesy Paper Copies.]




MINUTES FORM 11                                               Initials of Deputy Clerk __JAC_______
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